                                  COURT OF APPEALS
                               EIGHTH DISTRICT OF TEXAS
                                    EL PASO, TEXAS

                                               §
 DAVID RODRIGUEZ,                                             No. 08-16-00113-CR
                                               §
                            Appellant,                          Appeal from the
                                               §
 v.                                                            120th District Court
                                               §
 THE STATE OF TEXAS,                                        of El Paso County, Texas
                                               §
                            State.                            (TC# 20150D03170)
                                               §

                                           §
                                         ORDER

        The Court GRANTS the Appellant’s third motion for extension of time to file the letter
                                            '
brief until December 3, 2016. NO FURTHER MOTIONS FOR EXTENSION OF TIME TO FILE
                                             '
THE LETTER APPELLANT’S BRIEF WILL BE CONSIDERED BY THIS COURT.

       It is further ORDERED that the Hon. Francisco F. Macias, the Appellant’s Attorney,

prepare the Appellant’s brief and forward the same to this Court on or before December 3, 2016.

       IT IS SO ORDERED this 4th day of November, 2016.



                                            PER CURIAM



Before McClure, C.J., Rodriguez, and Hughes, JJ.
